                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                              AT NASHVILLE


RACHEL WELTY and              §
AFTYN BEHN,                   §
                              §
     Plaintiffs,              §
                              §
v.                            §                     Case No. 3:24-cv-00768
                              §
BRYANT C. DUNAWAY,            §
JASON LAWSON,                 §
JENNINGS H. JONES,            §
ROBERT J. CARTER,             §
RAY WHITLEY, ROBERT J. NASH,  §
GLENN FUNK, STACEY EDMONSON, §
BRENT COOPER, RAY CROUCH, and §
HANS SCHWENDIMANN,            §
                              §
     Defendants.              §


  PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
 MOTION FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY
                       INJUNCTION


                                   I. INTRODUCTION

       When Idaho enacted Idaho Code Annotated § 18-623—a law substantially similar

to the one challenged here—a federal district court preliminarily enjoined it as both a

content-based and unconstitutionally vague speech restriction.            See Matsumoto v.

Labrador, No. 1:23-CV-00323-DKG, 2023 WL 7388852, at *18–22 (D. Idaho Nov. 8,

2023) (“The Court finds Idaho Code Section 18-623 is a content-based regulation of

protected speech and expression. . . . In particular, the statute’s restriction on ‘recruiting’

squarely quashes Plaintiffs’ speech and expression about abortion as a viable and legal

reproductive option. . . . [T]he Court finds Plaintiffs have shown a likelihood of success


                                              -1-

 Case 3:24-cv-00768       Document 19       Filed 06/26/24     Page 1 of 24 PageID #: 160
on their Fourteenth Amendment claim that the statute fails to provide a reasonable

person with fair notice of what conduct is forbidden and what activities are lawful, and

allows for arbitrary enforcement.”) (internal citations omitted).

       Tennessee Public Chapter No. 1032 presents an even easier case. Unlike section

18-623—which incorporated “the intent to conceal an abortion from the parents or

guardian of a pregnant, unemancipated minor” as an essential element—Public Chapter

No. 1032 contains no such requirement. See Doc. 1-1. Instead, an adult who intentionally

“recruits, harbors, or transports” a pregnant unemancipated minor—including a victim of

rape or incest—within Tennessee for the purpose of procuring a legal abortion out-of-

state or a legal abortion-inducing drug commits a criminal offense regardless of any

intent to conceal the assistance from the minor’s parents. See id. at 1. Thus, one who

helps a teenage victim of rape or incest obtain a legal abortion alone—precisely the work

and advocacy Plaintiff Rachel Welty has done for years and wishes to continue doing, see

Doc. 1 at ¶¶ 12–23—commits a criminal offense that “shall be punished by imprisonment

for eleven (11) months and twenty-nine (29) days.” Doc. 1-1 at 1. Indeed, according to

Public Chapter No. 1032’s primary House sponsor, even pure speech that is not directed

at any specific person—like Representative Behn’s statement that she “welcome[s] the

opportunity to take a young person out of state who wants to have an abortion even if it

lands me in jail”—should result in a criminal prosecution under Public Chapter No. 1032’s

“recruit[ment]” prohibition. See Doc. 1 at ¶¶ 36–41.

       What “recruits” means—as used in Public Chapter No. 1032—is undefined, though.

Further, despite being susceptible to many different definitions and carrying serious

criminal consequences, the Defendants have refused to clarify its meaning. See Doc. 1-4;

Doc. 1 at ¶ 28.

                                           -2-

 Case 3:24-cv-00768      Document 19      Filed 06/26/24    Page 2 of 24 PageID #: 161
       Regardless of how “recruits” is defined, however, Tennessee Public Chapter No.

1032 criminalizes pure speech based on its content and the viewpoint that a speaker

expresses. That renders it presumptively unconstitutional, and the Defendants cannot

meet their burden of proving that the law is the least restrictive means of furthering any

compelling governmental interest. Further, because Public Chapter No. 1032 prohibits a

substantial amount of protected speech relative to its legitimate sweep, the statute is

unconstitutionally overbroad.

       For all of these reasons, this Court should preliminarily enjoin the Defendants

from enforcing Public Chapter No. 1032, which “takes effect July 1, 2024[.]” See Doc. 1-1

at 2. This Court should also issue a Temporary Restraining Order that temporarily

restrains the Defendants from enforcing Section 1 of Public Chapter No. 1032 against the

Plaintiffs pending resolution of the Plaintiffs’ claim for a preliminary injunction.

                                        II. FACTS

A.     PLAINTIFF RACHEL WELTY

       Plaintiff Rachel Welty is an outspoken and unapologetic advocate for safe and

healthy access to abortion care. See Doc. 1 at ¶ 12. In her role as an advocate for safe and

healthy access to abortion care, Ms. Welty has on many occasions participated in

informational campaigns and distributed literature about abortion access, including how

to access legal abortion-inducing drugs. Id. at ¶ 13; see also Doc. 1-2. Most of Ms. Welty’s

advocacy is concentrated in the Middle Tennessee area, including in each of the

Defendants’ judicial districts. Doc. 1 at ¶ 14. Ms. Welty is also a member of an abortion

fund that provides resources to clients who need safe and healthy access to legal abortion

medication and legal out-of-state abortion care that they can no longer obtain in

Tennessee. Id. at ¶ 15. Ms. Welty’s advocacy for safe and healthy access to legal abortion

                                            -3-

 Case 3:24-cv-00768       Document 19      Filed 06/26/24     Page 3 of 24 PageID #: 162
care is not hidden, and it is not intended to be. Id. at ¶ 16. Ms. Welty advocates—

accurately—that “‘[a]bortion is safe, common, and normal[.]’” Id. at ¶ 17.

      Ms. Welty also advocates for and helps facilitate Tennesseans’ access to legal

abortion care, including out-of-state abortion care and abortion-inducing drugs. Id. at ¶

18. Her advocacy is not limited to emancipated minors or to Tennesseans who happen to

be over the age of 18, and it is not intended to be. Id. at ¶ 19. Ms. Welty—an attorney—is

well-known in Tennessee for helping pregnant, unemancipated minors receive access to

legal abortion care, having handled “‘judicial bypass’” representations for years before

that legal avenue to abortion care was eliminated. See id. at ¶ 20 (citing Doc. 1-3, Paige

Pfleger, Tennessee teens can no longer seek judicial bypass for abortions, NPR (Sep. 9,

2022), https://www.npr.org/2022/09/09/1122123601/tennessee-teens-can-no-longer-

seek-judicial-bypass-for-abortions (discussing Ms. Welty’s work helping young teens—

many of whom were victims of rape and incest—obtain judicial bypasses to access

abortion care)). As a result of that work, Ms. Welty still receives calls from pregnant,

unemancipated minors who want assistance accessing legal abortion care but do not have

parental consent to access it. Id. at ¶ 21. Ms. Welty has historically helped those clients

access legal abortion care. Id. at ¶ 22. Ms. Welty would also like to continue helping

pregnant, unemancipated minors access legal abortion care. Id. at ¶ 23.

      Given the foregoing, in anticipation of Public Chapter No. 1032 taking effect, Ms.

Welty developed serious concerns that the law—which directly affects her day-to-day

operations—would criminalize her advocacy and subject her to civil wrongful death

liability. Id. at ¶ 24. Thus, Ms. Welty sought reasonable notice of what Public Chapter

No. 1032 prohibits from the Defendants. Id. at ¶ 25. In particular, on June 6, 2024, Ms.

Welty—through counsel—sent a letter to the Defendants regarding Public Chapter No.

                                           -4-

 Case 3:24-cv-00768      Document 19      Filed 06/26/24    Page 4 of 24 PageID #: 163
1032’s “‘recruit[ment]’” prohibition. See id. at ¶ 26 (quoting Doc. 1-4). Ms. Welty

specifically asked the Defendants “‘to please define the proscribed behavior with sufficient

particularity to provide a person of ordinary intelligence with reasonable notice of the

conduct that is prohibited.’” Id. (quoting Doc. 1-4 at 2). Ms. Welty asked for a response

from the Defendants by 4:30 p.m. CST on June 20, 2024. Id. at ¶ 27. None of the

Defendants responded. Id. at ¶ 28.

       Through counsel, Ms. Welty also expressed to the Defendants her “‘significant

concerns that Public Chapter No. 1032 is constitutionally infirm.’” Id. at ¶ 29 (quoting

Doc. 1-4 at 2). In particular, Ms. Welty noted:

       Even setting aside vagueness issues, any reasonable interpretation of the
       law appears to criminalize pure speech and advocacy—a viewpoint-based
       speech restriction. Worse: the law appears to criminalize advocating for and
       facilitating access to legal abortion care, including abortion care provided
       out-of-state in compliance with the laws of sovereign jurisdictions.

Id. (quoting Doc. 1-4 at 3).

       Based on these infirmities, Ms. Welty asked each Defendant to “‘disavow all

enforcement of Public Chapter No. 1032’s “recruit[ment]” prohibition against Ms. Welty

once the law takes effect.’” Id. at ¶ 30 (quoting Doc. 1-4 at 3). None of the Defendants

disavowed enforcement of Public Chapter No. 1032’s “recruit[ment]” prohibition against

Ms. Welty, however. Id. at ¶ 31.

       The scope of Public Chapter No. 1032’s “recruit[ment]” prohibition also gives rise

to additional criminal liability well beyond its terms, including for related inchoate

offenses like criminal attempt, solicitation, and conspiracy, see Tenn. Code Ann. § 39-12-

107(a)–(c), and for additional crimes like criminal responsibility, see Tenn. Code Ann. §

39-11-402(1)–(3). Id. at ¶ 32. Thus, unless Public Chapter No. 1032’s “recruit[ment]”

prohibition is declared unconstitutional and enjoined, Ms. Welty cannot safely continue

                                            -5-

 Case 3:24-cv-00768       Document 19      Filed 06/26/24    Page 5 of 24 PageID #: 164
her advocacy for safe and healthy access to legal abortion care without risking criminal

prosecution. Id. at ¶ 33. Ms. Welty’s fear of being subjected to criminal prosecution for

violating Public Chapter No. 1032’s recruitment prohibition if she does not restrict her

speech is both objectively and subjectively credible. Id. at ¶ 34. Especially when paired

with the availability of civil enforcement by private parties, the criminal nature of the

threat that Ms. Welty faces—a lengthy mandatory-minimum jail sentence following a

criminal charge that may be initiated by any law enforcement officer or by an individual

citizen through Tennessee’s citizen grand jury process—significantly heightens the risk of

chilled expression. Id. at ¶ 35.

B.     PLAINTIFF AFTYN BEHN

       Plaintiff Aftyn Behn is an elected Representative of the Tennessee General

Assembly. Id. at ¶ 36. Before the bill that ultimately became Public Chapter No. 1032 was

considered for a final floor vote, Representative Behn posted publicly in opposition to the

bill, pledging to “‘exercise [her] right to publicly share information about how to seek an

abortion which could be considered illegal under this law.’” Id. at ¶ 37 (quoting Doc. 1-5

at 4). Representative Behn further stated that she “‘welcome[s] the opportunity to take a

young person out of state who wants to have an abortion even if it lands me in jail.’” Id.

at ¶ 38 (quoting Doc. 1-5 at 5).

       During the Tennessee House of Representatives’ discussion of the bill that

ultimately became Public Chapter No. 1032, another representative sought clarification

about the meaning of “‘recruit[ment]’” under the bill. See id. at ¶ 39 (quoting Doc. 1-6 at

20:9–12 (“Mr. Sponsor, I would like to ask you, could you explain in the bill where it talks

about an ado -- an adult recruiting these minors, could you explain what that would look

like, please?”)). On the Tennessee House floor, the primary sponsor of the bill answered

                                            -6-

 Case 3:24-cv-00768       Document 19      Filed 06/26/24    Page 6 of 24 PageID #: 165
the representative’s question as follows:

       REPRESENTATIVE ZACHARY: “[U]nfortunately, there’s even a member of
       this body that recently tweeted out, ‘I welcome the opportunity to take a
       young person out of state who wants to have an abortion, even if it lands me
       in jail.’ . . .

       REPRESENTATIVE ZACHARY: And so answering the question of
       recruitment, I’m answering the question of recruitment. Representative,
       that is what recruitment looks like.

Id. at ¶ 40 (quoting Doc. 1-6 at 21:9–17).

       According to the sponsor of Public Chapter No. 1032, merely stating: “I welcome

the opportunity to take a young person out of state who wants to have an abortion, even

if it lands me in jail”—even when that statement was not directed to any specific person—

is a criminal violation of Public Chapter No. 1032’s “recruit[ment]” prohibition. Id. at ¶

41. Representative Behn wants to continue her advocacy for young people who need legal

abortion care, but, beginning July 1, 2024, Representative Behn cannot do so safely

without risking criminal prosecution. Id. at ¶ 42. Representative Behn’s fear of being

subjected to prosecution for violating Public Chapter No. 1032’s recruitment prohibition

is objectively and subjectively credible. Id. at ¶ 43. Further, when paired with the

availability of civil enforcement by private parties, the criminal nature of the threat that

Representative Behn faces—a lengthy mandatory-minimum jail sentence following a

criminal charge that may be initiated by any law enforcement officer or by an individual

citizen through Tennessee’s citizen grand jury process—significantly heightens the risk of

chilled expression. Id. at ¶ 44.

       As an elected official and legislator, Representative Behn’s chilled expression

regarding a matter of obvious public importance is especially destructive. Id. at ¶ 45.

Chilling Representative Behn’s speech interferes with her role and duty as an elected


                                              -7-

 Case 3:24-cv-00768       Document 19        Filed 06/26/24   Page 7 of 24 PageID #: 166
official and simultaneously violates her constituents’ right to hear and receive information

from her. Id. at ¶ 45. Based on the credible threat of Public Chapter No. 1032 being

enforced against her, Ms. Behn cannot safely express herself on matters of current public

importance. Id. at ¶ 46.

                               III. LEGAL STANDARD

A.     TEMPORARY RESTRAINING ORDER

       Rule 65(b)(1) of the Federal Rules of Civil Procedure provides that:

       The court may issue a temporary restraining order without written or oral
       notice to the adverse party or its attorney only if:

              (A) specific facts in an affidavit or a verified complaint clearly show
              that immediate and irreparable injury, loss, or damage will result to
              the movant before the adverse party can be heard in opposition; and

              (B) the movant's attorney certifies in writing any efforts made to give
              notice and the reasons why it should not be required.

Id.

       “In determining whether to grant a temporary restraining order (‘TRO’), the Court

considers the same four factors applicable to a motion for preliminary injunction”

addressed below. See Dinter v. Miremami, 627 F. Supp. 3d 726, 730 (E.D. Ky. 2022)

(citing McGirr v. Rehme, 891 F.3d 603, 610 (6th Cir. 2018)). “Though the standard for a

TRO is the same as a preliminary injunction, there is increased emphasis on irreparable

harm.” Id. (citing ABX Air, Inc. v. Int’l Bhd. of Teamsters, Airline Div., 219 F. Supp. 3d

665, 670 (S.D. Ohio 2016); New Motor Vehicle Bd. v. Orrin W. Fox Co., 434 U.S. 1345,

1347 n.2 (1977)).

       Local Rule 65.01 separately requires movants to:

       1.     Make a written motion for a TRO separate from the complaint commencing

the case, see L.R. 65.01(a);

                                            -8-

 Case 3:24-cv-00768        Document 19     Filed 06/26/24    Page 8 of 24 PageID #: 167
       2.       Ensure that the motion for a TRO is accompanied by a separately filed

affidavit or verified written complaint, a memorandum of law, and a proposed order, see

L.R. 65.01(b);

       3.       Strictly comply with Rule 65 of the Federal Rules of Civil Procedure, see L.R.

65.01(c); and

       4.       Contact the clerk if a hearing is requested, see L.R. 65.01(d).

       “Under Federal Rule of Civil Procedure 65, the purpose of a temporary restraining

order is merely to preserve the relative positions of the parties—i.e., the status quo—until

the Court can hold an adversarial hearing for a preliminary injunction.” Blount Pride,

Inc. v. Desmond, 690 F. Supp. 3d 796, 802 (E.D. Tenn. 2023) (citing Granny Goose

Foods, Inc. v. Bhd. of Teamsters & Auto Truck Drivers Local No. 70 of Alameda Cty., 415

U.S. 423, 439 (1974)). “The four factors generally ought ‘to be balanced against one

another and should not be considered prerequisites to the grant’ of a temporary

restraining order.” Id. (quoting Leary v. Daeschner, 228 F.3d 729, 736 (6th Cir. 2000)).

“When the Court is able to determine the propriety of a temporary restraining order by

relying on fewer than all four factors, it may do so.” Id.

B.     PRELIMINARY INJUNCTION

       When deciding whether to issue a preliminary injunction:

       [C]ourts must examine four factors . . . : (1) whether the movant has
       demonstrated a substantial likelihood of success on the merits, (2) whether
       the movant will suffer irreparable injury absent injunction, (3) whether a
       preliminary injunction would cause substantial harm to others, and (4)
       whether the public interest will be served by an injunction.

Flight Options, LLC v. Int’l Bhd. of Teamsters, Loc. 1108, 863 F.3d 529, 539–40 (6th Cir.

2017); see also Bonnell v. Lorenzo, 241 F.3d 800, 809 (6th Cir. 2001). “[T]he four

considerations applicable to preliminary injunction decisions are factors to be balanced,

                                              -9-

 Case 3:24-cv-00768        Document 19       Filed 06/26/24    Page 9 of 24 PageID #: 168
not prerequisites that must be met.” In re DeLorean Motor Co., 755 F.2d 1223, 1229

(6th Cir. 1985). Likelihood of success on the merits “is the most important” factor, see

Jones v. Caruso, 569 F.3d 258, 277 (6th Cir. 2009), though it is not necessarily

dispositive, see O’Toole v. O’Connor, 802 F.3d 783, 792 (6th Cir. 2015). Where—as here—

the Government is the opposing party, the third and fourth factors of the preliminary

injunction inquiry “merge.” Nken v. Holder, 556 U.S. 418, 435 (2009); see also Daunt v.

Benson, 956 F.3d 396, 422 (6th Cir. 2020) (“[T]he public-interest factor ‘merge[s]’ with

the substantial-harm factor when the government is the defendant[.]”).

                                   IV. ARGUMENT

A.     THE PLAINTIFFS ARE SUBSTANTIALLY LIKELY TO SUCCEED ON THE MERITS OF
       THEIR CLAIMS.

       As one district court has already determined under analogous circumstances, the

Plaintiffs are substantially likely to succeed on the merits of their claims. See Matsumoto,

2023 WL 7388852, at *18–22. Straightforward First Amendment law compels this

conclusion.

       1.     Public Chapter No. 1032’s “recruit[ment]” prohibition is
              unconstitutionally vague.

       “The void-for-vagueness doctrine requires that [a] statute define the criminal

offense with sufficient definiteness that ordinary people can understand what conduct is

prohibited and in a manner that does not encourage arbitrary and discriminatory

enforcement.” United States v. Kerns, 9 F.4th 342, 351 (6th Cir. 2021) (quoting United

States v. Farah, 766 F.3d 599, 614 (6th Cir. 2014)) (alteration in original). “To withstand

a facial challenge [that a statute is unconstitutionally vague], an enactment must define

the proscribed behavior with sufficient particularity to provide a person of ordinary

intelligence with reasonable notice of prohibited conduct and to encourage non-arbitrary

                                           -10-

Case 3:24-cv-00768       Document 19      Filed 06/26/24    Page 10 of 24 PageID #: 169
enforcement of the provision.” Am. Booksellers Found. for Free Expression v. Strickland,

601 F.3d 622, 627 (6th Cir. 2010) (quoting Belle Maer Harbor v. Charter Twp. of

Harrison, 170 F.3d 553, 557 (6th Cir. 1999)) (alterations in original).

       Further, when—as here—“a statute ‘interferes with the right of free speech . . ., a

more stringent vagueness test should apply.’” Holder v. Humanitarian L. Project, 561

U.S. 1, 19 (2010) (quoting Vill. of Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S.

489, 499 (1982) (“If, for example, the law interferes with the right of free speech or of

association, a more stringent vagueness test should apply.”). The standard of certainty is

also even higher still when, as here, a speaker risks criminal punishment. See Winters v.

New York, 333 U.S. 507, 515 (1948) (“The standards of certainty in statutes punishing for

offenses is higher than in those depending primarily upon civil sanction for enforcement.

The crime ‘must be defined with appropriate definiteness.’”) (cleaned up); see also

Maldonado v. Morales, 556 F.3d 1037, 1045 (9th Cir. 2009) (“Because of the nature of

criminal sanctions, ‘[t]he standards of certainty in statutes punishing for offenses is

higher than in those depending primarily on civil sanction for enforcement.’”) (quoting

Winters, 333 U.S. at 515); Hunt v. City of Los Angeles, 638 F.3d 703, 712 (9th Cir. 2011)

(“[W]here criminal sanctions are involved and/or the law implicates First Amendment

rights such as here, a ‘more demanding’ standard of scrutiny applies.”).

       With these considerations in mind, Public Chapter No. 1032’s “recruit[ment]”

prohibition is unconstitutionally vague. The word “recruits,” as used in Public Chapter

No. 1032, is not defined in Public Chapter No. 1032.          The word “recruits” is also

susceptible to a wide range of potential meanings, any of which would criminalize some




                                            -11-

Case 3:24-cv-00768       Document 19      Filed 06/26/24    Page 11 of 24 PageID #: 170
amount of pure speech—including, for instance, mere encouragement or persuasion. 1

The scope of Public Chapter No. 1032’s “recruit[ment]” prohibition gives rise to additional

criminal liability beyond its terms, too, including for related inchoate offenses like

criminal attempt, solicitation, and conspiracy, see Tenn. Code Ann. § 39-12-107(a)–(c),

and for additional crimes like criminal responsibility, see Tenn. Code Ann. § 39-11-

402(1)–(3).

         Because it is impossible to know the meaning of the word “recruits,” as used in



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  See, e.g., Tenn. Op. Att’y Gen. No. 07-64 (May 10, 2007) (“[T]he plain meaning of
‘recruit’ . . . is synonymous with ‘induce or encourage to come into this state for the
purpose of employment’ as employed in SB202[.]”); Ex. 1, United States v. Withers, No.
3:16-cr-00005-wmc, Doc. 126-2, at 12 (W.D. Wis. Apr. 28, 2017) (“To recruit means
to persuade someone to join in or to help with some activity.”); In re Pro. Home
Health Care, Inc., 159 F. App’x 32, 37 (10th Cir. 2005) (“The dictionary definition of
‘recruit’ means ‘to secure the services of . . . [or to] enlist new members.’ As such, the
construction of ‘recruit’ most likely correct under Colorado law requires a direct request
or plea.”) (internal citation omitted); Contreras v. Mt. Adams Orchard Corp., 744 F.
Supp. 1007, 1007 (E.D. Wash. 1990) (“[T]he term ‘recruit’ . . . shall be interpreted as
meaning ‘to hire or otherwise obtain or secure the services of,’ and shall include all pre-
employment discussions that relate to a worker’s employment.”); Escobar v. Baker, 814
F. Supp. 1491, 1503 (W.D. Wash. 1993) (“‘[R]ecruitment’ includes ‘indirect
recruitment.’”); id. at 1504 (“‘Recruiting’ encompasses not only direct contacts with
prospective workers but also indirect efforts to attract or solicit workers for agricultural
employment.”); Atmel Corp. v. Vitesse Semiconductor Corp., 30 P.3d 789, 793 (Colo.
App. 2001), (“‘Recruit’ means to ‘hire or otherwise obtain to provide services . . . secure
the services of.’” (quoting Webster’s Third New International Dictionary 1899 (1986))),
abrogated on other grounds by Ingold v. AIMCO/Bluffs, L.L.C. Apartments, 159 P.3d
116 (Colo. 2007); State v. Cartee, 577 N.W.2d 649, 652 (Iowa 1998) (“The court instructed
the jury that ‘recruit’ means ‘to seek out a person to perform a specific task or service.’”
(quoting Webster’s Ninth New Collegiate Dictionary 985 (1986) (“recruit” defined as “to
secure the services of: ENGAGE, HIRE”))); Commonwealth v. Dabney, 90 N.E.3d 750,
764 (Mass. 2018) (“[T]o ‘recruit’ means to ‘hire or otherwise obtain to perform services,’
to ‘secure the services of’ another, to ‘muster,’ ‘raise,’ or ‘enlist.’ Such recruitment does
not require force or coercion.”) (internal citation omitted); Sandoval v. Rizzuti Farms,
Ltd., 656 F. Supp. 2d 1265, 1277 (E.D. Wash. 2009) (“[I]ndirect recruitment includes
situations where the farm ‘puts out the word’ that work is available and workers respond
by showing up at a farm to work”); State v. Gregg, 834 N.W.2d 871 (Iowa Ct. App. 2013)
(“The district court instructed the jury that ‘recruit’ means ‘to seek out a person to perform
a specific task or service.’”)
                                            -12-

    Case 3:24-cv-00768   Document 19       Filed 06/26/24     Page 12 of 24 PageID #: 171
Public Chapter No. 1032, just by reading the statute, Ms. Welty contacted the Defendants

and sought reasonable notice of what Public Chapter No. 1032 prohibits. See Doc. 1 at ¶¶

26–27; see also Doc. 1-4. “None of the Defendants responded.” Doc. 1 at ¶ 28. “None of

the Defendants disavowed enforcement of Public Chapter No. 1032’s ‘recruit[ment]’

prohibition against Ms. Welty[,]” either. Id. at ¶ 31.

       Under these circumstances, the Plaintiffs are substantially likely to succeed on the

merits of their claim that the word “recruits,” as used in Public Chapter No. 1032, is

unconstitutionally vague. Based on both the undefined nature of the word “recruits,” as

used in Public Chapter No. 1032, and the Defendants’ refusal to clarify their own

interpretations of this criminal prohibition before Public Chapter No. 1032 takes effect,

Public Chapter No. 1032 neither defines the proscribed behavior with sufficient

particularity to provide a person of ordinary intelligence with reasonable notice of

prohibited conduct nor encourages non-arbitrary enforcement of the provision. There is

also good reason to believe that Public Chapter No. 1032’s “recruit[ment]” provision

prohibits pure generalized advocacy like Representative Behn’s statement that “[she]

welcome[s] the opportunity to take a young person out of state who wants to have an

abortion, even if it lands [her] in jail,” given that Public Chapter No. 1032’s main House

sponsor said so contemporaneously with the bill being enacted and just before a final

House floor vote. See Doc. 1 at ¶¶ 37–41.

       Given the foregoing, Public Chapter No. 1032’s “recruit[ment]” prohibition is

unconstitutionally vague and contravenes the Fourteenth Amendment’s prohibition

against vague laws. Cf. Matsumoto, 2023 WL 7388852, at *21 (“Here, Idaho Code Section

18-623 fails to provide fair notice or ascertainable standard of what is and what is not

abortion trafficking. . . . Most notably, as relevant to Plaintiff's intended activities, there

                                             -13-

Case 3:24-cv-00768        Document 19      Filed 06/26/24     Page 13 of 24 PageID #: 172
is no definition for what constitutes ‘recruiting.’”). That the uncertain reach of Public

Chapter No. 1032’s “recruit[ment]” prohibition subjects speakers to the credible threat of

criminal prosecution and a lengthy mandatory-minimum jail sentence also raises the

stakes so dramatically that “definiteness” of meaning is essential here. See Winters, 333

U.S. at 515 (“The standards of certainty in statutes punishing for offenses is higher than

in those depending primarily upon civil sanction for enforcement. The crime ‘must be

defined with appropriate definiteness.’”). Given its absence, though, the Plaintiffs are

substantially likely to succeed on the merits of their claim that Public Chapter No. 1032’s

“recruit[ment]” prohibition is unconstitutionally vague.

       2.     Public Chapter No. 1032’s “recruit[ment]” provision is a
              presumptively unconstitutional content- and viewpoint-based
              speech restriction.

       Public Chapter No. 1032’s “recruit[ment]” prohibition criminalizes, among other

things, speech. It also targets speech based on its communicative content: namely, speech

about procuring an abortion or obtaining an abortion-inducing drug.       As such, Public

Chapter No. 1032’s “recruit[ment]” prohibition is a content-based speech regulation. See

Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015) (A speech regulation is content-based

if it “target[s] speech based on its communicative content.”). Public Chapter No. 1032’s

“recruit[ment]” prohibition is thus “presumptively unconstitutional and may be justified

only if the government proves that they are narrowly tailored to serve compelling state

interests.” Id.

       Beyond engaging in mere content-discrimination, though, Public Chapter No.

1032’s “recruit[ment]” prohibition also restricts speech based on a speaker’s viewpoint.

Whatever “recruit” means, as used in Public Chapter No. 1032, the law does not

criminalize recruiting unemancipated minors for the purpose of forgoing legal abortion

                                           -14-

Case 3:24-cv-00768       Document 19      Filed 06/26/24    Page 14 of 24 PageID #: 173
care.   But it does criminalize recruiting unemancipated minors for the purpose of

procuring legal abortion care. Thus, Public Chapter No. 1032 targets speech based not

only on the subject matter involved, but also based on the viewpoint a speaker expresses.

        Viewpoint discrimination—which is regarded as “an egregious form of content

discrimination[,]” Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829

(1995)—is presumptively forbidden. See Members of City Council of Los Angeles v.

Taxpayers for Vincent, 466 U.S. 789, 804 (1984) (“[T]he First Amendment forbids the

government to regulate speech in ways that favor some viewpoints or ideas at the expense

of others.”) (collecting cases). Further, regardless of the type of forum involved, viewpoint

discrimination triggers strict scrutiny.     See Ne. Pa. Freethought Soc’y v. Cty. of

Lackawanna Transit Sys., 938 F.3d 424, 436 (3d Cir. 2019) (“[V]iewpoint discrimination

is impermissible in any forum.” (citing Minnesota Voters All. v. Mansky, 585 U.S. 1, 10

(2018); Matal v. Tam, 582 U.S. 218, 243–44 (2017); Good News Club v. Milford Cent.

Sch., 533 U.S. 98, 111–12 (2001); Rosenberger, 515 U.S. at 829)). Thus, “while many cases

turn on which type of ‘forum’ is implicated, the important point here is that viewpoint

discrimination is impermissible in them all.” Manhattan Cmty. Access Corp. v. Halleck,

139 S. Ct. 1921, 1936 (2019) (Sotomayor, J., dissenting) (citing Good News Club, 533 U.S.

at 106).

        Given the foregoing, Public Chapter No. 1032’s content- and viewpoint-based

“recruit[ment]” prohibition is presumptively unconstitutional on its face. It also is not

the least restrictive means of furthering any compelling governmental interest.

        To begin, to the extent that the Government asserts some compelling interest in

limiting speech that is integral to, or that is intended to bring about, unlawful conduct,

the Plaintiffs note that Public Chapter No. 1032’s “recruit[ment]” prohibition is not

                                            -15-

Case 3:24-cv-00768       Document 19       Filed 06/26/24    Page 15 of 24 PageID #: 174
limited to such speech. Cf. United States v. Hansen, 599 U.S. 762, 783 (2023) (“To the

extent that clause (iv) reaches any speech, it stretches no further than speech integral to

unlawful conduct. . . . Speech intended to bring about a particular unlawful act has no

social value; therefore, it is unprotected.”). Instead, by applying to “recruit[ment]” for the

purpose of: (1) procuring an abortion “regardless of where [an] abortion is to be procured”

(including in jurisdictions where abortion care is legal) and (2) “regardless of where [an]

abortion-inducing drug is obtained” (including legally), see Doc. 1-1 at 1, Public Chapter

No. 1032’s “recruit[ment]” prohibition criminalizes—and it is intended to criminalize—

speech about legal abortion care. Under these circumstances, Public Chapter No. 1032’s

“recruit[ment]” prohibition is fatally overinclusive, criminalizing far more speech than is

necessary to further any compelling governmental interest in proscribing speech “that is

integral to, or that is intended to bring about, unlawful conduct.” Hansen, 599 U.S. at

783. Tennessee has no lawful interest—much less a compelling one—in criminalizing

speech about legal abortion care based on a speaker’s viewpoint, either.

         At the same time, Public Chapter No. 1032’s “recruit[ment]” prohibition is fatally

underinclusive. For instance, assuming for the sake of argument that the Government

has some compelling interest in promoting parental rights and prohibiting recruitment

of minors generally, that interest cannot plausibly be limited to the subject of abortion

alone.

         Further, whatever the State’s asserted interest here, Public Chapter No. 1032 gives

waivers to some speakers (including any non-adult) while denying them to others. See

Doc. 1-1 at 1 (reflecting that the proscription applies only to “[a]n adult” and provides

waivers for “[t]he parents or legal guardian of the unemancipated minor,” “[a] person who

has obtained the written, notarized consent of the unemancipated minor's parent or legal

                                             -16-

Case 3:24-cv-00768        Document 19      Filed 06/26/24     Page 16 of 24 PageID #: 175
guardian,” “[a] common carrier transporting passengers in the course and scope of their

business[,]” and “[a]n ambulance driver or operator and any corresponding emergency

medical services personnel, as defined in § 68-140-302, acting within the course and

scope of their duties.”).         Such speaker-based discrimination is “of course”

unconstitutional. See, e.g., Thomas v. Chicago Park Dist., 534 U.S. 316, 325 (2002)

(“Granting waivers to favored speakers (or, more precisely, denying them to disfavored

speakers) would of course be unconstitutional[.]”); Greater New Orleans Broad. Ass’n v.

United States, 527 U.S. 173, 194 (1999) (“[D]ecisions that select among speakers

conveying virtually identical messages are in serious tension with the principles

undergirding the First Amendment.”). Thus, whatever the State’s asserted interest in the

provision, Public Chapter No. 1032’s recruitment prohibition is fatally underinclusive as

well.

        For all of these reasons, the Plaintiffs are likely to succeed on the merits of their

claims that Public Chapter No. 1032’s recruitment prohibition—which must be presumed

unconstitutional—is unconstitutional, both facially and as applied to the Plaintiffs’ own

intended speech.

        3.     Public Chapter No. 1032’s              “recruit[ment]”       provision     is
               unconstitutionally overbroad.

        Under the overbreadth doctrine, if a “statute ‘prohibits a substantial amount of

protected speech’ relative to its ‘plainly legitimate sweep,’ then society’s interest in free

expression outweighs its interest in the statute’s lawful applications, and a court will hold

the law facially invalid.” Hansen, 599 U.S. at 770. Here, by expressly providing that its

criminal prohibition applies to “recruit[ment]” for the purpose of (1) procuring an

abortion “regardless of where [an] abortion is to be procured” (including in jurisdictions


                                            -17-

Case 3:24-cv-00768        Document 19      Filed 06/26/24    Page 17 of 24 PageID #: 176
where abortion care is legal), and (2) “regardless of where [an] abortion-inducing drug is

obtained” (including legally), Public Chapter No. 1032 criminalizes a great deal of pure

speech about legal abortion care that the Government has no lawful interest in

criminalizing.

       Simply put: Supporting and advocating for legal abortion care is protected speech.

See, e.g., Matsumoto, 2023 WL 7388852, at *8 (“Plaintiffs’ activities aimed at providing

information, support, and assistance about reproductive health options, including legal

abortion services, to pregnant individuals constitute protected speech.” (citing Bigelow v.

Virginia, 421 U.S. 809, 824−25 (1975) (holding an advertisement providing information

about legal abortion services available in other states was constitutionally protected

speech))).   As such, criminalizing support and advocacy for legal abortion care is

unconstitutional. Id.

       The unconstitutional applications of Public Chapter No. 1032’s “recruit[ment]”

provision are “realistic, not fanciful[,]” too. See Hansen, 599 U.S. at 770 (“To justify facial

invalidation, a law’s unconstitutional applications must be realistic, not fanciful, and their

number must be substantially disproportionate to the statute’s lawful sweep.”). Public

Chapter No. 1032 expressly states that its provisions apply “regardless of where the

abortion is to be procured”—including in jurisdictions where abortion is legal—and

“regardless of where the abortion-inducing drug is obtained” (including legally). See Doc.

1-1 at 1. Under these circumstances, the unconstitutional applications of Public Chapter

No. 1032’s “recruit[ment]” provision are not some mere oversight.                Instead, the

unconstitutional applications of Public Chapter No. 1032’s “recruit[ment]” provision are

the heart of the law; they are expressly intended by it; and they are integral to it. Under

these circumstances, then, the Plaintiffs are entitled to obtain the “strong medicine” of

                                             -18-

Case 3:24-cv-00768        Document 19      Filed 06/26/24     Page 18 of 24 PageID #: 177
facial invalidation of Public Chapter No. 1032’s “recruit[ment]” provision “to vindicate

the rights of the silenced, as well as society’s broader interests in hearing them speak.”

Hansen, 599 U.S. at 770.

B.     THE PLAINTIFFS WILL SUFFER IRREPARABLE INJURY ABSENT PRELIMINARY
       RELIEF.

       “[I]t is well-settled that ‘loss of First Amendment freedoms, for even minimal

periods of time, unquestionably constitutes irreparable injury.’” Connection Distrib. Co.

v. Reno, 154 F.3d 281, 288 (6th Cir. 1998) (quoting Elrod v. Burns, 427 U.S. 347, 373

(1976)). Thus, all First Amendment violations—even minimal ones—constitute “per se

irreparable” injuries. See G & V Lounge, Inc. v. Mich. Liquor Control Comm’n, 23 F.3d

1071, 1078−79 (6th Cir. 1994) (“Violations of First Amendment rights constitute per se

irreparable injury.”) (cleaned up); see also Newsom v. Norris, 888 F.2d 371, 378 (6th Cir.

1989) (“The Supreme Court has unequivocally admonished that even minimal

infringement upon First Amendment values constitutes irreparable injury sufficient to

justify injunctive relief.”); Deja Vu of Nashville, Inc. v. Metro. Gov’t of Nashville &

Davidson Cty., 274 F.3d 377, 400 (6th Cir. 2001) (“[T]he Supreme Court has recognized

that even minimal infringement upon First Amendment values constitutes irreparable

injury.”); Young v. Giles Cty. Bd. of Educ., 181 F. Supp. 3d 459, 465 (M.D. Tenn. 2015)

(“Under case law applicable to free speech claims, the loss of First Amendment freedoms,

for even minimal periods of time, is presumed to constitute irreparable harm.”)

(quotation omitted). Given the criminal nature of the threat that the Plaintiffs face and

the fact that Public Chapter No. 1032 affects Plaintiff Welty’s day-to-day operations and

Plaintiff Behn’s duties as an elected official, see Doc. 1 at ¶¶ 24, 45, the injury to the

Plaintiffs here is also severe.


                                          -19-

Case 3:24-cv-00768        Document 19    Filed 06/26/24    Page 19 of 24 PageID #: 178
       For these reasons, the second preliminary injunction factor weighs in the Plaintiffs’

favor, too.

C.     A PRELIMINARY INJUNCTION WOULD NOT CAUSE SUBSTANTIAL HARM TO
       OTHERS.

       Nor would granting the Plaintiffs a preliminary injunction harm the Defendants in

any material way. Public Chapter No. 1032’s “recruit[ment]” provision is presumptively

unconstitutional, see supra at 14–17, and “[n]o substantial harm can be shown in the

enjoinment of an unconstitutional policy.” Chabad of S. Ohio v. City of Cincinnati, 233

F. Supp. 2d 975, 987 (S.D. Ohio 2002), aff’d sub nom. Chabad of S. Ohio & Congregation

Lubavitch v. City of Cincinnati, 363 F.3d 427 (6th Cir. 2004) (citing Deja Vu of Nashville,

Inc., 274 F.3d at 400 (“[I]f the plaintiff shows a substantial likelihood that the challenged

law is unconstitutional, no substantial harm to others can be said to inhere in its

enjoinment.”)). Thus, the third preliminary injunction factor weighs in the Plaintiffs’

favor as well.

D.     THE PUBLIC INTEREST WILL BE SERVED BY AN INJUNCTION.

       The public interest will be served by a preliminary injunction. Two reasons

support this conclusion.

       First, “it is always in the public interest to prevent the violation of a party’s

constitutional rights.” G & V Lounge, Inc., 23 F.3d at 1079. Accordingly, because the

Plaintiffs have established a strong likelihood of success on the merits of their

constitutional claims, the public interest favors granting them a preliminary injunction.

See id.; see also Young, 181 F. Supp. 3d at 465 (“Because Plaintiff has established a strong

likelihood that Defendants’ prohibition of speech violates the First Amendment, the

public interest also favors the issuance of a preliminary injunction.”); Chabad of S. Ohio


                                            -20-

Case 3:24-cv-00768         Document 19     Filed 06/26/24    Page 20 of 24 PageID #: 179
& Congregation Lubavitch, 363 F.3d at 436 (“[T]he public interest is served by preventing

the violation of constitutional rights.”).

       Second, when the First Amendment is at stake, it is not only the speaker’s interests

that are implicated; the First Amendment similarly protects the right of the public to

“receive” information. See, e.g., Va. State Bd. of Pharmacy v. Va. Citizens Consumer

Council, Inc., 425 U.S. 748, 757 (1976) (“[I]n Kleindienst v. Mandel, 408 U.S. 753,

762−763 (1972), we acknowledged that this Court has referred to a First Amendment right

to ‘receive information and ideas,’ and that freedom of speech ‘necessarily protects the

right to receive.’”) (cleaned up); see also id. (“There are numerous other expressions to

the same effect in the Court’s decisions.”) (collecting cases).

       That interest is especially important with respect to Representative Behn, an

elected official from whom the public has a right to hear. As the U.S. Supreme Court has

explained, “[t]he manifest function of the First Amendment in a representative

government requires that legislators be given the widest latitude to express their views on

issues of policy.” Bond v. Floyd, 385 U.S. 116, 135–36 (1966). As such, “[t]he role that

elected officials play in our society makes it all the more imperative that they be allowed

freely to express themselves on matters of current public importance.” Wood v. Georgia,

370 U.S. 375, 395 (1962). Thus, chilling Representative Behn’s speech interferes with her

role and duty as an elected official and simultaneously violates her constituents’ right to

hear and receive information from her.

       For these reasons, the public interest will be advanced by granting preliminary

relief, and the fourth and final factor of the preliminary injunction inquiry favors granting

the Plaintiffs a preliminary injunction as well.



                                              -21-

Case 3:24-cv-00768        Document 19        Filed 06/26/24   Page 21 of 24 PageID #: 180
E.     LOCAL RULE 65.01

       Pursuant to Local Rule 65.01(b), the Plaintiffs’ motion for a TRO is accompanied

by a separately filed verified written complaint, see Doc. 1, this memorandum of law, and

the proposed order attached here as Exhibit 2. Given the Plaintiffs’ need for temporary

relief by or before July 1, 2024, no hearing is requested on the Plaintiffs’ application for a

TRO. The Plaintiffs informed the Defendants’ counsel in advance of filing of their intent

to seek the relief sought here, however, and the Plaintiffs agree that a TRO should only

issue after notice to the Defendants, whose counsel is being served with this filing

contemporaneously.

                                    V. CONCLUSION

       For the foregoing reasons, all four factors of the temporary restraining order and

preliminary injunction inquiries favor issuing pre-judgment relief. Thus, pending a final

adjudication of the merits of the Plaintiffs’ claims, this Court should restrain and then

preliminarily enjoin the Defendants from enforcing Section 1 of Public Chapter No. 1032.




                                            -22-

Case 3:24-cv-00768       Document 19       Filed 06/26/24     Page 22 of 24 PageID #: 181
                                           Respectfully submitted,

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                                    -23-

Case 3:24-cv-00768   Document 19   Filed 06/26/24     Page 23 of 24 PageID #: 182
                             CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of June, 2024, a copy of the foregoing and all
exhibits and attachments were sent via CM/ECF, USPS Mail, and/or via email, to:

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                                                  /s/ Daniel A. Horwitz__________
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                                           -24-

Case 3:24-cv-00768       Document 19      Filed 06/26/24    Page 24 of 24 PageID #: 183
